Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 1 of 6




                    EXHIBIT V
          Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 2 of 6




Document title:             Meet the new PUMA One 18.1 and new FUTURE boot |

Capture URL:                https://www.unisportstore.com/blog/9561-meet-the-new-
                            puma-one-181-and-new-future-boot/

Captured site IP:           52.214.250.46

Page loaded at (UTC):       Wed, 02 May 2018 20:11:06 GMT

Capture timestamp (UTC):    Wed, 02 May 2018 20:11:49 GMT

Capture tool:               v6.7.0

Collection server IP:       52.7.109.102

Browser engine:             Chrome/62.0.3202.9

Operating system:           Microsoft Windows NT 6.2.9200.0 (6.2.9200.0)

PDF length:                 5

Capture ID:                 41ebcee0-3606-48d2-b70b-ca23107fe90a

User:                       Banner-user1




                                            7QPKrSm2mK6wk5BbAeyavN
                             Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 3 of 6




Document title: Meet the new PUMA One 18.1 and new FUTURE boot |
Capture URL: https://www.unisportstore.com/blog/9561-meet-the-new-puma-one-181-and-new-future-boot/
Capture timestamp (UTC): Wed, 02 May 2018 20:11:49 GMT                                                Page 1 of 4
                             Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 4 of 6




Document title: Meet the new PUMA One 18.1 and new FUTURE boot |
Capture URL: https://www.unisportstore.com/blog/9561-meet-the-new-puma-one-181-and-new-future-boot/
Capture timestamp (UTC): Wed, 02 May 2018 20:11:49 GMT                                                Page 2 of 4
                             Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 5 of 6




Document title: Meet the new PUMA One 18.1 and new FUTURE boot |
Capture URL: https://www.unisportstore.com/blog/9561-meet-the-new-puma-one-181-and-new-future-boot/
Capture timestamp (UTC): Wed, 02 May 2018 20:11:49 GMT                                                Page 3 of 4
                             Case 1:18-cv-10876-LTS Document 1-22 Filed 05/03/18 Page 6 of 6




Document title: Meet the new PUMA One 18.1 and new FUTURE boot |
Capture URL: https://www.unisportstore.com/blog/9561-meet-the-new-puma-one-181-and-new-future-boot/
Capture timestamp (UTC): Wed, 02 May 2018 20:11:49 GMT                                                Page 4 of 4
